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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CRISTrAN RAMOS,

                        Plaintiff,

                        v.                        Case No.: 17-cv-8576

                                                  Chief Judge Rebecca R. Pallmeyer
GEE, et al.,

                        Defendants.          )
                                     STIPULATION TO DISMISS

       NOW COMES the Plaintiff, Cristian Ramos, by his attorney, Scott Kamin, and the
Defendants, Maurice Gee and Rodtrice Tucker, by their attorney, KWAME RAOUL,
Attorney General of Illinois, and hereby stipulate to the dismissal of this case. The
Plaintiff and the Defendants agree as follows:
       1.      This lawsuit shall be dismissed without prejudice, with leave to reinstate
for purposes of enforcing the Settlement Agreement.
       2.      Upon payment in full and in accordance with the Settlement Agreement
entered by and between the Plaintiff and the Defendants named in the Settlement
Agreement, the dismissal shall convert to a dismissal with prejudice and without leave
to reinstate. •
       3.      Each party shall bear their own attorney's fees, costs and expenses.


AGREED:

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Plaintiff                                         Date
Cristian Ramos
                  1/'         )
Scott Kamin                                       Shawn Peters
Counsel for Plaintiff                             Assistant Attorney General
53 W. Jackson                                     Attorney for Defendants
#1057                                             100 West Randolph Street, 131h Floor
Chicago, IL 60604                                 Chicago, Illinois 60601
(312) 307-8848                                    (312) 814-4752

Date: 7101          /,/                           Date:
